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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 IN RE:                                       )
                                              )
 MESA OIL, INC.                               )
 d/b/a Mesa Environmental                     )
                                              )              Case No. 17-14004-EEB
                                              )
 EIN:     XX-XXXXXXX                          )
                                              )
          Debtor.                             )

            THIRD AMENDMENT TO AMENDED PLAN OF REORGANIZATION
                          DATED OCTOBER 25, 2017

          The Debtor, Mesa Oil, Inc. (“Debtor”) by and through its attorneys, Kutner Brinen, P.C.,
 submits its amendment to its Amended Plan of Reorganization Dated October 25, 2017 as
 follows:
    1. Paragraph 7.1 is amended to read as follows:
          7.1 – Class 9 consists of those unsecured creditors of the Debtor who hold
 Allowed Claims. After the Effective Date of the Plan, Class 9 Claimants shall receive a
 pro-rata distribution of monthly payments in an amount sufficient to pay Class 9 Claims
 in full with interest at a rate of 5.9% per annum over five (5) years following the
 Effective Date of the Plan. Distributions shall begin on the last day of the first full
 month following the Effective Date of the Plan.
                 a.     At any time following the Effective Date of the Plan, the Debtor
          may buy out or prepay the Class 9 claims by paying the remaining principal
          balance due on each Class 9 claim. Once the pre-payment is made, no further
          payments shall be due to Class 9.
                 b.     Prior to the Effective Date of the Plan, the Debtor shall obtain an
          agreement from Lawrence Meers to agree to waive distribution on account of his
          Class 9 Claim until all other Class 9 Claimants are paid in full as set forth above.
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      Dated: May 24, 2018.         Respectfully submitted,

                                            By:    /s/ Keri L. Riley
                                                   Jeffrey S. Brinen, #20565
                                                   Keri L. Riley, #47605
                                            KUTNER BRINEN, P.C.
                                            1660 Lincoln Street, Suite 1850
                                            Denver, CO 80364
                                            Telephone: (303) 832-2400
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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

      IN RE:                                   )
                                               )
      MESA OIL, INC.                           )
      d/b/a Mesa Environmental                 )
                                               )      Case No. 17-14004-EEB
                                               )
      EIN:     XX-XXXXXXX                      )
                                               )
               Debtor.                         )

                                    CERTIFICATE OF SERVICE

       The undersigned certifies that on May 24, 2018, a copy of the THIRD AMENDMENT
TO AMENDED PLAN OF REORGANIZATION DATED OCTOBER 25, 2017 was served by
U.S. Regular Mail in accordance with FED. R. BANKR. P. 2002 on the following parties below:

      Meredith P. Van Horn                             Nathan G Osborn
      4430 South Adams County Pkwy                     5445 DTC Parkway
      Ste. C5000B                                      Ste. 800
      Brighton, CO 80601                               Greenwood Village, CO 80111
      Matthew A. Silverman                             Paul Moss
      2005 North Central Avenue                        Byron G. Rogers Federal Building
      Phoenix, AZ 85004                                1961 Stout St.
                                                       Ste. 12-200
      Roger K. Adams                                   Denver, CO 80294
      4200 E. 8th Ave.
      Ste. 101                                         Leo M. Weiss
      Denver, CO 80220                                 Byron G. Rogers Federal Building
                                                       1961 Stout St.
      Ross A. Hoogerhyde                               Ste. 12-200
      1300 Broadway                                    Denver, CO 80294
      8th Floor
      Denver, CO 80203                                 US Trustee
                                                       Byron G. Rogers Federal Building
      Scott K. Brown, II                               1961 Stout St.
      201 E. Washington St.                            Ste. 12-200
      Ste. 1200                                        Denver, CO 80294
      Phoenix, AZ 85004
                                                       Aaron J. Conrardy
      J. Benedict Garcia                               2580 W. Main Street
      1801 California St.                              Ste. 200
      Ste. 1600                                        Littleton, CO 80120
      Denver, CO 80202
                                                       Joseph W. Janecky
      Robert Lantz                                     PO Box 351284
      999 18th St.                                     Westminster, CO 80035
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      Ste. S1500                                       Arizona Department of Revenue
      Denver, CO 80202                                 1600 W. Monroe St.
                                                       Phoenix, AZ 85007
      Peter J. Lucas
      1624 Market St.
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      Denver, CO 80202
      Erin C. Nave                                            s/Charlotte Frost
      5445 DTC Pkwy., Ste. 800                                  Charlotte Frost
      Greenwood Village, CO 80111
